                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                               3:04-CR-00271-RJC-DCK
 USA                                               )
                                                   )
    v.                                             )                      ORDER
                                                   )
 ILA LITTLE HOWARD                                 )
                                                   )

         THIS MATTER comes before the Court upon the defendant’s motion for

reconsideration, (Doc. No. 523), of the denial, (Doc. No. 522: Order), of her motion for

appointment of counsel, (Doc. No. 520).

         In the instant motion, the defendant seeks the assistance of counsel to argue for re-

sentencing in light of Alleyne v. United States, 133 S. Ct. 2151 (2013). (Doc. No. 523: Motion at

1). Title 28, United States Code, Section 2255 allows a prisoner to move to vacate a sentence

obtained in violation of the Constitution, with certain limitations. However, there is no

constitutional right to counsel in proceedings under § 2255. See Crowe v. United States, 175

F.2d 799 (4th Cir. 1949). Furthermore, it appears from the record that the defendant has

adequately raised issues on her own in the past. (See Doc. No. 409: Motion to Amend Judgment;

Doc. No. 422: Motion to Reduce Sentence).

         IT IS, THEREFORE, ORDERED that the defendant’s motion for appointment of

counsel is DENIED. The Clerk’s Office is directed to send a form-motion to vacate to the

defendant with service of this Order.


                                               Signed: January 11, 2016




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